Case 5:18-cv-01194-GEKP Document 274 Filed 08/18/21 Page 1of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARTIN J. WALSH, :
Secretary of Labor, : CIVIL ACTION
Plaintiff
v.
EAST PENN MANUFACTURING :
CO., INC., : No. 18-1194
Defendant :
ORDER
AND NOW, this / Sit day of August, 2021, upon consideration of East Penn’s Motion
for Summary Judgment on East Penn’s Good Faith Defense to Liquidated Damages and Plaintiff's
Willfulness Claim (Doc. No. 155), the Secretary’s Response in Opposition (Doc. No. 175), and
Hast Penn’s Reply in Further Support of its Motion (Doc. No. 190);
East Penn’s Motion for Summary Judgment on Employees Who: Were Not Among the
Fight Facilities Dr. Radwin Studied; Work Outside of Pennsylvania; Do Not Wear a Uniform and
Shower, or Are Continuous Operations Employees in the Metals Division (Doc. No. 156), the
Secretary’s Response in Opposition (Doc. No. 174), and East Penn’s Reply in Further Support of
its Motion (Doc. No. 192);
The Secretary’s Motion for Partial Summary Judgment (Doc. No. 161) and Supporting

Documents (Doc. Nos. 157, 158, 159, 160), East Penn’s Response in Opposition (Doc. No. 176),

and the Secretary’s Reply in Further Support of his Motion (Doc. No. 191);

 

1 Pursuant to Federal Rule of Civil Procedure 25(d), the latest Secretary of Labor, Martin J. Walsh,
is substituted for Eugene Scalia as the plaintiff in this action,

 

 
Case 5:18-cv-01194-GEKP Document 274 Filed 08/18/21 Page 2 of 3

East Penn’s Notice of Filing Exhibit 1007 (Doc. No. 193), the Secretary’s Motion to Strike
East Penn’s Exhibit 65 and Exhibit 1007 (Doe. No. 198), and East Penn’s Response in Opposition
to the Motion (Doc. No. 202);

East Penn’s Notice of Supplemental Authority (Doc. No. 223), the Secretary’s Motion to
Strike East Penn’s Notice of Supplemental Authority (Doc. No. 231), East Penn’s Response in
Opposition to the Motion (Doc. No. 233), and the Secretary’s Reply in Further Support of his
Motion (Doe, No. 234);

The Secretary’s Notice of Second Revised Schedule A (Doc. No. 250), East Penn’s Motion
to Strike the Secretary’s Notice of Filing Second Revised Schedule A (Doc. No. 251), the
Secretary’s Response in Opposition to the Motion to Strike (Doc. No. 253), and East Penn’s Reply
in Further Support of its Motion to Strike (Doc. No. 255);

East Penn’s Second Notice of Supplemental Authority (Doc. No. 238), the Secretary’s
Response to East Penn’s Notice (Doc. No. 241), East Penn’s Reply in Further Support of its Second
Notice of Supplemental Authority (Doc. No. 243), the Secretary’s Notice of Supplemental
Authority (Doc. No. 244), East Penn’s Response to the Secretary’s Notice of Supplemental
Authority (Doc. No. 246), East Penn’s Third Notice of Supplemental Authority (Doc. No. 271),
and the Secretary’s Response to East Penn’s Third Notice of Supplemental Authority (Doc. No.
272); oral argument held on October 8, 2020; and for the reasons set forth in the accompanying
Memorandum, it is ORDERED that:

1. East Penn’s Motion for Summary Judgment on East Penn’s Good Faith Defense to
Liquidated Damages and Plaintiffs Willfulness Claim (Doc. No, 155) is DENIED.

2. East Penn’s Motion for Summary Judgment on Employees Who: Were Not Among

the Eight Facilities Dr. Radwin Studied; Work Outside of Pennsylvania; Do Not Wear a Uniform
Case 5:18-cv-01194-GEKP Document 274 Filed 08/18/21 Page 3 of 3

and Shower; or Are Continuous Operations Employees in the Metals Division (Doc. No. 156) is
GRANTED IN PART and DENIED IN PART.

3, The Secretary’s Motion for Partial Summary Judgment (Doc. No. 161) is
GRANTED IN PART and DENIED IN PART.

4, The Secretary’s Motion to Strike East Penn’s Exhibit 65 and Exhibit 1007 (Doc,
No. 198) is DEEMED MOOT.

5, The Secretary’s Motion to Strike East Penn’s Notice of Supplemental Authority
(Doc. No, 231) is DENIED.

6, East Penn’s Motion to Strike the Secretary’s Notice of Filing Second Revised

Schedule A (Doc. No. 251) is GRANTED.

BY THE COURT:

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ITED STATES DISTRICT JUDGE
